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                             )     United States District Court

Andrew U. D. Straw           )     Northern District of Indiana

Plaintiff,                   )

                             )     Case No.: 3:14-cv-1772

      v.                     )

Brenda Sconiers, and         )     Jury Trial Demanded

Thomas Dixon, Sconiers’      )

Attorney, and                )

St. Joseph County            )

Superior Court,              )

Defendants.                  )

                        AMENDED COMPLAINT

   1. I, plaintiff Andrew U. D. Straw, having considered the Court’s
      ORDER of December 30, 2014, ask for leave to amend under
      Federal Rule of Civil Procedure 15(a)(2).

   2. Rule 15(a)(2) provides that, “Other Amendments. In all other
      cases, a party may amend its pleading only with the opposing
      party's written consent or the court's leave. The court should
      freely give leave when justice so requires.” Because it is now past
      the time wherein an amendment by right may be had, I seek leave
      to amend.

   3. This amended complaint has exhibits attached. These provide the
      evidence of tortious conduct that I seek to remedy in this court
      under several different legal theories. They also show that justice
      would be served by allowing this amended complaint.


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                             DEFENDANTS

  4. Upon review of the facts, I have decided that the defendants in
     this action will be attorney Thomas M. Dixon, Indiana Supreme
     Court Employment Law Director and ADA Coordinator Brenda
     Rodeheffer, individually and as an officer of the Indiana Supreme
     Court, and the Indiana Supreme Court. Because the Attorney
     General’s office has already appeared in this case on behalf of the
     State of Indiana and Dixon has appeared on his own behalf, and
     the Attorney General will represent Rodeheffer in her capacity as
     a state officer, service will be through the Court’s CM/ECF system.

                                COUNTS

  5. The counts I make include intentional infliction of emotional
     distress against Defendant Dixon, intentional infliction of
     emotional distress against Rodeheffer (individually and as a Court
     employee), and 42 U.S.C. § 1983 against Rodeheffer and the State
     of Indiana for violations of my civil rights as a person with
     physical and mental disabilities.


           FACTUAL RECITATIONS AND EXPLANATION

                     DISABILITIES BACKGROUND

  6. My disabilities began with exposure to PCE, TCE, and other
     chemicals on Camp LeJeune Naval Base while my father was
     serving there as a Marine in 1969. I was born at Camp LeJeune
     Naval Hospital. (Exhibits A1, A2) The poisoning issue has been
     covered in the media, and was the cover story in Newsweek on
     July 25, 2014. (Exhibit B) The poisoning was the topic of a book,
     A Trust Betrayed: The Untold Story of Camp LeJeune and the
     Poisoning of Generations of Marines and Their Families, by Mike
     Magner, 2014.


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  7. While my father was training for his deployment to Vietnam, I
     was being poisoned by the very base where he trained.

  8. The Janey Ensminger Act of 2012, signed by President Obama,
     recognized officially that the poisons at Camp LeJeune caused at
     least a list of 15 different ailments, including breast cancer and
     neurobehavioral effects. The Veterans Administration lists these
     on its Camp LeJeune Public Health website. (Exhibit C)

  9. Among my disabilities from the poisoning at the Base are bipolar
     disorder, migraines, anxiety, and severe allergies for which I took
     desensitization shots for 14 years. My weakened immune system
     resulted in hospitalization for pneumonia. I have a diagnosis
     letter from my psychiatrist which proves the bipolar, which is the
     principal disability at issue here. (Exhibit D)

  10.      My mother, Sandra, died of breast cancer which was
     diagnosed at age 46. (Exhibit E) She died during my second year
     of law school, February 1997. (Exhibit F)

  11.      I turn 46 in March of 2015. (Exhibits A1, A2)

  12.     As a result of her death, I dropped one class, the one I felt
     was most stressful to me. This was Trial Process. I withdrew
     from only one class during law school. (Exhibit F, p. 3)

  13.      My U.S. Navy Federal Tort Claims Act file number for my
     poisoning claim is 140367. I am the administrator of my mother’s
     estate as per In Re: Estate of Sandra Stevens, 32D05-1409-EU-
     000204 (Hendricks Sup. Ct. #5). Sandra Stevens’ Estate’s U.S.
     Navy FTCA file number for her wrongful death is 150475.

  14.      I have scoliosis, the only one in my family with the exception
     of my daughter, who had back surgery to stabilize her spine with
     rods and screws on December 11, 2011. I attribute this to the
     teratogenic qualities of the poisons I was exposed to.

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  15.     I have inquired with the National Scoliosis Foundation to
     learn more about the chemical and genetic causes of this condition
     my daughter and I have. I have considered attaching the photos
     of my daughter’s surgery, but am choosing not to in order to
     protect her privacy.

  16.       I have been in the hospital for bipolar about 10 times. The
     first time was following my mother’s death, after I graduated from
     law school, in 1998.

  17.      My proposed bill to provide compensation and medical care
     and other protections was covered on KLTV on January 27, 2015:
     http://kltv.videodownload.worldnow.com/kltv_20150127194806120
     AA.mp4

  18.      Other Children of Camp LeJeune are currently lobbying for
     this bill to pass Congress. (Exhibit PP)

                      WORK AND DISABILITIES

  19.      My mother’s cancer was discovered in December 1994. I
     went with her to the oncologist. This is about the time I learned I
     was admitted to law school also. I began law school in August of
     1995.

  20.      As a law student, I was approximately at the middle of my
     class, but I was extremely active on the Bloomington campus of
     Indiana University. A friend and I founded College Democrats on
     the campus, which now has over 500 members. I represented the
     Law School in the IU Student Association, the student
     government. I was Dean Alfred C. Aman’s research assistant, and
     I also helped Professor F. Thomas Schornhorst and Professor Paul
     Craig of Oxford and was a student member of the Law School
     Educational Policy Committee.



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  21.      The worse my mother’s cancer got, the harder I worked,
     until every minute was planned. As a result, the IU Student
     Association recognized me as one of the most active student
     leaders on the campus, while I was a 1L law student. (Exhibit G)

  22.      After law school, I worked for Alan M. Voorhees, a famous
     transportation planner who was on a UDT-11 (SEAL) team during
     WWII in the Pacific. His “gravity theory” of traffic flow made the
     Interstate Highway System possible, especially in urban areas,
     and he planned the Metro in Washington as well as transportation
     in lower Manhattan. He owned an important aerospace firm,
     Autometric, which protects American civilian and military air
     traffic with satellite surveillance, as well as several other high
     tech companies that worked in national defense and with the FBI.

  23.      I was his corporate counsel, and he involved me heavily in
     his court automation and other projects. (Exhibit H)

  24.      To learn the paper flow of the court, I worked with Clerk
     Rosa Forrester in Richmond County, Virginia, and with Judge
     Joseph E. Spruill, Jr., former president of the Virginia State Bar.
     Judge Spruill trusted me with the constitutional research for a
     triple murder-arson trial that came before him. This case was
     also an opportunity to arrange documents and categorize them for
     Clerk Forrester. We also had family law and civil cases.

  25.      I worked directly with Mr. Voorhees’ cutting edge court
     records automation system, and I provided feedback on the system
     to the programmers in Russia who made upgrades based on my
     suggestions. I did similar things for Lizardtech, which developed
     the image compression software for the FBI fingerprint database.

  26.     While working on the court automation project, I came up
     with a proposal for a statewide e-filing system for the Virginia
     Supreme Court using the various technologies and paper flow
     information I had learned. I represented Alan M. Voorhees before
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     legislative committees, in meetings with the Virginia Supreme
     Court staff, and with court clerks statewide.

  27.     The Virginia State Bar invited me to be a member of its new
     Task Force on Technology, and I became the Education of Bench
     and Bar committee’s co-chair. (Exhibit I)

  28.     My grief over my mother’s death was not over in 2000.
     When Mr. Voorhees told me his wife was dying of cancer, it caused
     me to become very sad, and unwell.

  29.     At the time, my wife was finishing her Ph.D. in Chinese
     documentary film and media studies, so moving back to
     Bloomington, Indiana, was wise for us.

       INDIANA SUPREME COURT: STATISTICAL ANALYST

  30.       I applied for a job with the Indiana Supreme Court while
     still working for Mr. Voorhees and on the recommendation of Dean
     Robel at the Law School and former Dean Aman, and Mr.
     Voorhees, the Court hired me to be its statistical analyst in August
     of 2000. (Exhibit J) Note the list of duties in the job description
     and the “very high” level of responsibility. I never received the
     performance review promised in the hiring letter.

  31.      On February 22, 2001, I was in a head-on car accident that
     nearly took my life and the life of my passenger, Jenny Bauer, a
     colleague at the Supreme Court. We were on our way to work.
     (Exhibit K)

  32.      My legs were crushed and my right hip. (Exhibit L – total
     hip replacement, 4/11/2012)

  33.     When I returned to work, in July of 2001, my boss, Kurt
     Snyder began complaining that I did not walk fast enough, that I
     was not working fast enough. He complained that I was using the
     Internet too much.

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  34.      This despite the fact that I was designing the new Supreme
     Court webpage, communicated with the state trial judges about
     the new system to provide them email, and did the normal
     statistical work covering 400 courts.

  35.      Mr. Jeff Bercovitz, a senior staff member in the Judicial
     Center, told me that my job had too many responsibilities for one
     person and when he helped design the role, and that is what he
     said to the others.

  36.      I worked with Mr. Bercovitz on the weighted caseload study
     and analysis, and several months after I was fired, he gave me
     recognition for the work I did. (Exhibit M, p. 1 and p. 3) The
     Chief Justice gave me no credit for any of the work I did, including
     my work with deaf and blind court users, which I did on my own
     initiative.

  37.      Despite my accident and its aggravation of my bipolar
     disorder such that I was sluggish and found it difficult to
     concentrate, I had national recognition for an idea I came up with
     to help domestic violence victims.

  38.      In 2000, President Clinton made the first presidential
     webcast, on June 24, 2000. (Exhibit N) In this webcast, the
     president announced an e-government contest. The president
     said,

           “Third, in conjunction with the nonprofit Council for
           Excellence in Government, we’re launching a major
           competition to spur new innovative ideas for how
           Government can serve and connect with our citizens
           electronically. The Council will award up to $50,000 to those
           students, researchers, private sector workers, or
           Government employees who present the most creative
           ideas.” (Exhibit N, p. 2)

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  39.      Students at the Kennedy School of Government at Harvard
     and Council for Excellence staff reviewed and narrowed down the
     entries to eight national finalists.

  40.     My idea for a database of protective orders, updated in real
     time at the trial court level and available to police across the
     country immediately, was one of these eight national finalists.
     (Exhibit O)(Exhibit P)

  41.       I had worked with the Council for Excellence, had attended
     their leadership and innovation seminars, and trained with senior
     officials at Health and Human Services in the Council’s
     government leadership programs. Mr. Voorhees had provided
     their office space in Washington and start-up funds in the early
     1980s, and he went with me to meet the president of the Council
     for Excellence. The Council had all ex-US presidents on its board.

  42.      There was no recognition from the Court when I received
     this national honor, but Justice Sullivan gave me approval to go to
     Washington to present it, 2 weeks after I returned from my
     accident.

  43.     Instead, what happened is that I received the criticism
     mentioned above. This idea apparently was much more popular
     than the Chief Justice admitted, because after he fired me, he
     sought out a federal grant and spent that money to build my idea
     with no reference to the Imagine E-Government Award. (Exhibit
     Q)

  44.     This was both dishonest and disability discrimination, to
     take my idea in this way after having treated me so poorly, firing
     me, as the former Chief Justice of Indiana did on July 11, 2002.
     This was one month after I was admitted to the Indiana bar.

  45.     When I came to the Indiana Supreme Court, the reason I
     was hired was my background working on trial court technology

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     and document automation technology. My protective order
     database idea was no different from my other work except for the
     fact that I came up with the idea on my own, no one else at the
     Court. I had received a great deal of training in a short time in
     Virginia, and in the Mid-Atlantic this was recognized. (Exhibit R)

  46.      I never received recognition for my initiative to get a vision-
     impaired trial judge JAWS software so he could use his computer.
     I did not receive recognition when I went to the Indiana
     Association of the Deaf and talked with them about the new trial
     court transcription automation system I was staffed.

  47.    When I work on something, a disability aspect always
     emerges.

  48.      As the Court may be aware, Indiana’s Board of Law
     Examiners asks disability-related questions on its application,
     and I answered them honestly. I said I had bipolar disorder.

  49.     Immediately after this, my boss at work, Ron Miller, started
     making negative comments about people who have bipolar
     disorder. He put all of my work tasks on a huge white board in
     the hallway outside my office and said when you get something
     done, tell me and I will cross it off. Miller sent me to get remedial
     Microsoft Excel training. I felt humiliated by everything Miller
     did.

  50.      When I offered to help with the new Case Management
     System, which ultimately failed under his leadership, costing the
     state millions of dollars, he did not even answer as I stood in the
     doorway.

  51.      I had warned the Executive Director, Lilia Judson, by email
     that the federal government was investigating Computer
     Associates. Like with Miller, I never received any response.


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   52.     Later, in 2007, I worked on a major international corporate
      fraud audit, and translated hundreds of pages from Italian into
      English to facilitate the government investigation.

   53.      I worked as corporate counsel for a famous entrepreneur,
      Alan M. Voorhees, whose company invented the bar code used in
      retail. He was worth hundreds of millions of dollars, and I worked
      directly for him, my office next to his.

   54.      But once I told the court (privately, I thought) that I had
      bipolar on its bar exam application, I was not worth a reply from
      my superiors. Apparently, having bipolar meant nothing I said
      was reliable, my work product was automatically poor despite the
      evidence otherwise, and my accomplishments were to be picked
      like cherries for themselves.

   55.     But the SEC was investigating Computer Associates in 2002.
      The evidence is available on the Internet. (Exhibit S) There were
      federal indictments and the CEO of Computer Associates was
      convicted and got a 12-year federal sentence for securities fraud
      and obstruction of justice. (Exhibit S1)

   56.     Ignoring my advice and firing me had consequences. The
      Indiana Law Blog stated that over $6 million was spent on a
      system that simply did not work. The money went to Computer
      Associates, a company obviously not reliable. It is ironic in the
      extreme that the part of the system that did not work right was its
      accounting module, to take care of court fines and costs. (Exhibit
      T)

   57.      I took the bar exam in February of 2002.

   58.      I passed the bar exam. I had a character and fitness
      interview, which went fine. I had no criminal record and in fact I
      was admitted to practice in Virginia in 1999.


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   59.     But my bipolar disorder was an issue for the Board. I was
      ordered to come before a room full of people, some of them people I
      worked with at the Court. I was interrogated on my bipolar
      disorder and forced to answer extremely sensitive private
      information about my health, in particular, every time I had ever
      been manic. Again, in front of people with whom I worked at the
      Court.

   60.     The Board forced me to sign a consent agreement before it
      would give me a law license. (Exhibit W)

   61.     All of this was very upsetting, and when I was sworn in on
      June 7, 2002, some of those same people who interrogated me
      were present.

   62.     I became unwell the night of my swearing in as an Indiana
      attorney, and called my doctor. Doctor Michael Wenzler of
      Bloomington told me to stay home from work for four weeks.

   63.      I gave the note to my work, stayed home for four weeks, and
      when I came back to work, Lilia Judson called me into her office
      and fired me. I was escorted out of the building by two large
      security guards. This was July 11, 2002, 11 days before my
      daughter’s birthday.

   64.     Lilia Judson said to me before I left that “at least now you
      have your law license.”

   65.      Justice Sullivan, who was not my direct supervisor, was the
      person who showed me humanity after my car accident. (Exhibit
      X) I appreciate him, but the decisions about my work lay with
      Executive Director Lilia Judson and Director Ron Miller once I
      revealed I had my bipolar disorder.




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   66.      In 2006, the Board of Law Examiners threatened to take my
      law license away unless I continued doing what the consent
      agreement demanded that I do.

   67.      I responded that the Board was violating the Americans with
      Disabilities Act, Title II, as explained in Tennessee v. Lane, 541
      U.S. 509 (2004). (Exhibit Y)

   68.      The Board immediately thereafter removed the conditions on
      my license.

   69.      There was a newspaper story in the South Bend Tribune in
      2010 about trial court statistics and why they are so wrong. I
      contacted the reporter and gave my opinion as the former
      statistical analyst in charge of that for all 400 courts.

   70.      Lilia Judson insulted me in a follow-up story on November
      14, 2010, stating that I “had no authority” to talk about court
      statistics and that I was merely a “disgruntled” ex-employee. She
      admitted that there were mistakes to the reporter, which is what I
      was saying. (Exhibit U)

   71.      On March 2, 2014, I asked the Indiana Supreme Court to
      hire me to address the disability rights matters I had experienced,
      but Brenda Rodeheffer on March 20, 2014, stated that no position
      like that was open and I would not be hired to do any such thing.
      (Exhibit V)

   72.      I filed a Petition for Redress of Grievances on August 15,
      2014, with the Indiana Supreme Court because I felt it had
      violated my Indiana constitutional rights, my rights as a human
      being, and my federal constitutional rights in discriminating
      against me as a continuous matter over a long period of time.
      (Exhibit Z)



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   73.      The Clerk of Court, Kevin S. Smith, refused to accept my
      petition by letter on August 28, 2014, stating that the Indiana
      Supreme Court had no original jurisdiction to review its own
      actions in how it treated its employees and people who applied to
      its agency for bar admission. (Exhibit AA)

   74.       I submitted the Petition again with further explanation,
      including Indiana Constitution, Article 7, Section 4, and copied it
      to all members of the Indiana House and Indiana Senate, as is my
      right under Indiana Constitution, Section 31, Right of Assemblage
      and Petition. Clerk Smith rejected it again, despite this language:

            Section 4. The Supreme Court shall have no original
            jurisdiction except in admission to the practice of law;
            discipline or disbarment of those admitted; the unauthorized
            practice of law; discipline, removal and retirement of justices
            and judges; supervision of the exercise of jurisdiction by the
            other courts of the State; and issuance of writs necessary or
            appropriate in aid of its jurisdiction. The Supreme Court
            shall exercise appellate jurisdiction under such terms and
            conditions as specified by rules except that appeals from a
            judgment imposing a sentence of death shall be taken
            directly to the Supreme Court. The Supreme Court shall
            have, in all appeals of criminal cases, the power to review all
            questions of law and to review and revise the sentence
            imposed. Ind. Const., Article VII, Section 4. (Exhibit BB)

   75.      In this second letter from Clerk Smith, he referred my
      petition to the Court’s Employment Law Director, Brenda
      Rodeheffer. She again denied my petition and demands for justice
      on September 19, 2014.

   76.     To be explained below, one of my civil rights clients has had
      a malpractice case against me. Sconiers v. Straw, 71D07-1310-CT-


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      00265 (St. Joseph Ct. Sup. Ct.) The plaintiff ’s lawyer in that case
      is Thomas M. Dixon, IndianaBar #18611-71.

   77.     Attorney Dixon has filed emails that he received from
      Brenda Rodeheffer in his malpractice case. (Exhibit DD)

   78.      Note that Rodeheffer informed Dixon in these emails that
      she was filing a disciplinary complaint against me on September
      3, 2014, 5 days after I filed my Petition for Redress of Grievances.
      This is strong indication that her actions were in retaliation for
      my demand for justice on the basis of the Court’s disability
      discrimination against me.

   79.     It appears the Dixon had entered only two emails from a
      conversation of more emails, but these two emails were entered as
      Exhibits C and D in the malpractice case.

   80.      Rodeheffer did indeed file a disciplinary complaint on
      September 3, 2014, and the Indiana Attorney Disciplinary
      Commission demanded that I respond to it, despite the fact that
      nothing Rodeheffer listed in the complaint was an ethical violation
      of any kind. (Exhibit EE)

   81.       Ironically, just 15 days before Rodeheffer’s claim, my
      psychiatrist, Dr. Maria Estrada, wrote a letter for me in support of
      taking my Virginia law license out of disabled status and putting
      it into active status. She said that I was symptom-free, have not
      been hospitalized in 4 years, and am “quite productive.” (Exhibit
      BBB)

            RODEHEFFER’S DISCIPLINARY COMPLAINT

   82.     She made a bald statement that my mental disorder is so
      severe that I am unfit to practice law, and then she listed a
      number of things I work on, including political asylum cases for
      Ukrainians.

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   83.      Perhaps Rodheffer is unaware, but Russia has invaded
      Ukraine and over 4,800 people have been killed, and many more
      injured. My fiancée, Victoria Yaroshenko, is from Ukraine and she
      helps me when someone needs to speak Russian. She is a
      paralegal and is a graduate student at Argosy in mental health
      counseling.

   84.     My life is probably much more international than
      Rodeheffer’s. I speak Italian fluently and have studied German
      and French, and am learning Russian. My children are bilingual
      in English and Italian and have citizenships in the USA, the EU,
      and Oceania. I took and passed the U.S. Foreign Service Exam in
      1998 and worked for the Italian Foreign Ministry in 1995. Just
      because Rodeheffer does not have such experiences does not make
      me unwell. It makes her parochial, and quick to accuse me of
      being unfit with no cause. Quick to discriminate and hurt me.

   85.     To be quite honest, if I were in a position of authority at the
      Indiana Supreme Court and saw such a phony disciplinary
      complaint, Rodeheffer would not be there long. The person who
      supervises her would also be required to explain.

   86.     That person is Lilia Judson. She is not done discriminating
      against me, apparently.

   87.       Yes, I filed a lawsuit against the American Bar Association
      and the top 50 law schools because they are hiding the disability
      statistics of law school classes. Straw v. ABA, 1:14-cv-05194 (N.D.
      Ill.) There was good reason.

   88.      The Law School Admission Council admitted to
      discriminating in administering the LSAT. This is not my
      imagination. The U.S. Department of Justice announced it in May
      of 2014 (Exhibit FF)



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   89.      The Department of Justice has started holding the
      discrimination of state supreme courts to account in their bar
      admissions, especially applicants with mental disabilities, like
      mine. (Exhibit GG)

   90.      Many civil rights organizations oppose behavior that the
      Indiana Supreme Court has continued to this time, similar to the
      Louisiana Supreme Court’s, as evidenced in this letter to the
      Justice Department.
      http://www.bazelon.org/portals/0/In%20Court/Current%20Cases/C
      urrent%20Cases/Louisiana%20Bar%20Conditional%20Admissions
      /National%20Support%20Letter_1-8-14.pdf

   91.      It appears that the day of reckoning for discriminating state
      supreme courts and their discriminating court bureaucrats has
      arrived. I have been waiting a very long time for it, asking again
      and again with rejections of my pleas.

   92.       These people, Rodeheffer and Judson and Clerk Smith, have
      discriminated against me on the basis of the bipolar disorder that
      I got from being poisoned while my father was training to fight in
      Vietnam.

   93.      My background is in law and disability rights. Instead of my
      activities being evidence of mental illness, quite the contrary. In
      2013, I asked the IU-Maurer School of Law to be more accessible
      to students with disabilities. Instead of filing a disciplinary
      complaint against me, Indiana University Provost Lauren Robel
      wrote, “Sparkling flying colors is the right standard, Andy. You are
      a brilliant lawyer. It has always been wonderful to watch your
      advocacy, Lauren,” November 11, 2013. (Exhibit HH)

   94.     After demanding that the Indiana Supreme Court and the
      IU Maurer School of Law and the U.S. Supreme Court and the
      ABA become more accessible, the 2014-2015 president of the
      National Association of Law Students with Disabilities, Angeli
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      Rios, contacted me. She did not say I was unfit to practice law.
      She said, “Wow, I have to admire your drive & passion for
      advancing the rights of people with disabilities...as far as I can tell
      it is pretty unmatched!!” December 15, 2015 (Facebook Message)

   95.      I contacted the National Center for State Courts and told
      them that I wanted to do a study or even a book on how mental
      illness in lawyers is treated by state courts. Instead of saying I
      am unfit to practice law, Nicole Waters, Senior Court Research
      Association of the NCSC said, “We agree that this effort would
      benefit the state courts, enabling them to make more informed
      policy decisions with regard to mental illness and commend you on
      raising this important agenda.” (Exhibit II)

   96.     And in fact, I intend to do doctoral level work on this subject
      now, and that is what gave me standing in my ABA case.

   97.      There is even more evidence that I am more a national
      expert on disability matters, rather than unfit to practice law. I
      applied to be the General Counsel of the U.S. Access Board, which
      sets the standards for physical disability access for the entire
      USA. The Access Board found me to be “qualified” for the position
      in 2014. (Exhibit JJ)

   98.     The U.S. Army Medical Command evaluated me to be an
      Attorney Advisor (civilian equivalent of a Lt. Colonel), and found
      me to be “qualified” and referred me to the selection official in
      2014. (Exhibit KK)

   99.       Presumably due to my technology background and legal
      background, the U.S. Army Network Enterprise Technology
      Command found me “qualified” and referred me to the selection
      official for another Attorney Advisor position (civilian equivalent
      of Lt. Colonel). (Exhibit LL)



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   100.    National Council on Disability: “This is a fascinating inquiry.
     I confess I have never paused to consider the relation between
     receipt of SSDI and one’s FICO score…Thanks for bringing the
     question to us. I’m hopeful we can find at least a few helpful bread
     crumbs on the hunt for the answers.” Anne Sommers, National
     Council on Disability Legislative Director, January 7, 2015.
     Exhibit.

   101.    Social Security Administration: “Thank you for posing what I
     considered to be important research and policy questions.” Bob
     Williams, Social Security Administration Senior Advisor, January
     7, 2015. Exhibit.

   102.    I was a finalist for the position of Executive Director in 2013,
     Indiana Protection & Advocacy Service (IPAS), the independent
     state agency which protects the rights of Hoosiers with
     disabilities. (Exhibit AAA)

   103.    I appear to be “qualified” to do many things, but I have not,
     in the past 5 years, gotten an interview for anything of this kind.
     I believe it is because the Indiana Supreme Court is telling
     employers that I am NOT FIT TO PRACTICE LAW. It is logical
     that if the Employment Law Director is making discriminatory
     complaints against me on the basis of my bipolar disorder, she is
     saying the same things to people checking my references.

   104.    Lilia Judson’s 2002 “at least you have a law license” was a
     cruel joke. The Court first grudgingly gave me a license after a
     star chamber torture session, and even then with conditions, a
     consent agreement. In 2014, the Court was done with me having
     a law license.

   105.   Its Employment Law Director filed a disciplinary complaint.
     Not because I violated any rule, but precisely on the grounds that
     I have bipolar disorder. (Exhibit EE)

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   106.    I give credit where credit is due. In my letter, printed in the
     Indiana State Bar Association’s Res Gestae, November 2014 issue,
     I thanked the Indiana CLE Commission for accommodating my
     migraines by letting me do all of my CLE online.

          THOMAS M. DIXON FACTS AND EXPLANATIONS

   1. The case against Defendant Dixon relies on the following facts.
      He brought a malpractice case, Sconiers v. Straw, 71D07-1310-CT-
      00265 (St. Joseph Ct. Sup. Ct.), against me knowing that his client
      had never asked me to file any suit for her, and that his client (my
      ex-client) had actually signed my representation agreement
      agreeing explicitly that I would not do any trial work for her.
      Exhibit.

   2. Dixon presented no evidence, written or verbal, that Sconiers had
      asked for this service, which I could not have done in any event
      because I had not at that point set up an e-filing account with the
      Court, which I now have and am using. (Exhibit MM). The fact
      that I was top of my class in Negotiations and that Trial Process
      was the only class in law school from which I withdrew are also
      indicative of what the situation was. (Exhibit F) There is, in
      other words, no reason to believe any malpractice occurred.

   3. The trial court, located in South Bend, refused my attorney’s Trial
      Rule 56 motion, and at this point I realized that I do not trust any
      Indiana court. Neither trial nor appellate. I directed my attorney
      to negotiate with Dixon for a settlement. My unopposed
      assertions that Dixon’s client never asked me to file anything,
      never asked me to do anything beyond the negotiations that were
      clearly laid out in the representation agreement were ignored.
      (Exhibit NN)

   4. I explained to Defendant Dixon via email on June 5, 2013 that I
      have mental and physical disabilities that I was accommodating

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      in 2012 such that I did not wish to file any court case or prosecute
      one at that time. (Exhibit OO).

   5. When I opposed the Democratic Headquarters in South Bend
      being inaccessible for people with physical impairments, and
      opposed the Indiana Democratic Party’s Rule 10, which
      discriminates against people with mental impairments, I received
      threats. Butch Morgan, the district chair and state committee
      member, shook my brother’s hand in 2011 and told me
      simultaneously that there would be a lawsuit against me. A news
      reporter was present when he made this threat, Jason Aubry of
      ABC 57 in South Bend.

   6. My brother, US Air Force Capt. Jason Lee Straw (ret), was a
      critical care trauma team nurse in Afghanistan and saved the
      lives of soldiers blown up on the battlefield. His patients were all
      missing limbs, some four limbs. (Exhibit RR) Capt. Straw and his
      team saved the lives of about 40 people with the most severe
      injuries. His uniform reflects it. (Exhibit SS)

   7. My opposition to the disability rights violations was not casual. I
      reported to the Department of Justice and to the Indiana Civil
      Rights Commission. (Exhibit TT) My case is before the Indiana
      Supreme Court now: Straw v. Indiana Democratic Party, 93A02-
      1406-EX-00399.
      https://courtapps.in.gov/Docket/Search/Detail?casenumber=93A02
      1406EX00399

   8. Sconiers appeared at the same time I was making my Indiana
      Civil Rights Commission complaint. Fall of 2012, immediately
      after my campaign for Congress in South Bend ended.

   9. Because the lawsuit threat was there from one of the top
      Democratic leaders for 20 years, and Sconiers’ case had no merit,
      and the court is in South Bend, I decided to direct my lawyer to
      settle.
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   10.       I do not trust the legal system in Indiana, even though I am
      licensed there. If Butch Morgan can get the Vice Chair of the
      Indiana Election Commission to represent him in his losing felony
      trial for forging presidential ballot petitions, including forging
      former Governor Kernan’s name, it is reasonable to believe that
      foul play is at work in Sconiers’ case. (Exhibit VV)

   11.      Morgan wished to retaliate against me, and it is not hard to
      see why. I ran against him for his district chair spot following the
      U.S. Census. I did so to demand disability access at the
      headquarters. (Exhibit WW) My continued opposition was
      covered on ABC 57 in South Bend. (Exhibit XX) The original
      video is available here:
      https://www.youtube.com/watch?v=2DebpmIA0oc

   12.      Dixon’s judgment on legal matters can be demonstrated in
      the Indiana Court of Appeals case of Dixon v. Lucero, 71A04-0810-
      CV-592. In this case, Dixon fought his ex-wife regarding child
      support for their three children to the Indiana Court of Appeals.
      The Court rejected Dixon’s arguments over and over again:
      “Again, we reject Dixon’s premise.”

      13. In that case, regarding Dixon’s request for sanctions, the
         Court of Appeals cited the trial court in his case:

         Well, all I can say is: There’s been enough ill will and strife in
         this case, and that’s why [you] ended up in the high-conflict
         classes. I asked the parties to go to Dr. Rupley. The parties had
         previously been to mediation with Charlie Asher, I believe. I
         asked the parties to go to Dr. Rupley, and I got a report back
         from Dr. Rupley. I asked for comments on the report.
         And I think you agreed to the recommendation -- or Petitioner
         agreed to the recommendation of Dr. Rupley.
         And from Mr. Dixon, what I got from you was about a five-page
         tirade of all the things that are wrong with Mr. Hains, wrong
         with your wife, wrong with Dr. Rupley. And since it was

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         addressed to me, I assume it didn’t include me; but the next
         one may. (p. 14)
         http://www.ai.org/judiciary/opinions/pdf/03090905msm.pdf


   14.      Dixon’s sanctions were denied.

   15.     Dixon also claimed to be discriminated against in child
      support because he is a man. (p. 9) This claim was also rejected by
      the Court of Appeals.

   16.      Dixon makes poor legal judgments as witnessed in his own
      case at the Court of Appeals, and he has demanded sanctions
      without any factual basis in that case. It is in this context that
      Dixon filed a malpractice case in state court without factual
      foundation and asked for sanctions before this Court.

   17.      It is with that background that Dixon was unable to
      understand that entering the Supreme Court’s employment law
      director’s emails into the record was a violation of Indiana Rules
      of Professional Conduct, Rule 8.4(e).

   18.      Dixon seems not to understand when he is hurting others.

   19.      Rule 8.4(e): “It is professional misconduct for a lawyer to…
      state or imply an ability to influence improperly a government
      agency or official or to achieve results by means that violate the
      Rules of Professional Conduct or other law;”

   20.      Dixon entered Rodeheffer’s emails to him, announcing her
      disciplinary complaint and her cooperation with him, into the
      Sconiers case. The only purpose for this is attempting to influence
      the state trial court with Indiana Supreme Court interference.

   21.     That is not how the system should work. Trial courts try
      issues, and then they are appealed to the appellate courts on
      matters of law.

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   22.       The Supreme Court must not stick its finger on the scale at
      the trial court level in this manner. Dixon should not have invited
      it to do so.

   23.     My father after leaving the Marine Corps opened his own
      butcher shop. I know how important having a true scale is.

   24.     A rational person can see the fact that Dixon has no evidence
      for malpractice and is relying on the influence of Indiana Supreme
      Court staff to win his frivolous case for him.

   25.      Dixon has also been receiving lucrative legal work from the
      City of South Bend since filing this malpractice case against me.
      (Exhibit QQ)

   26.     Mayor Buttigieg’s administration approved that work for
      Dixon.

   27.    It is Mayor Buttigieg’s ADA-violating ramp at the
      Democratic HQ that is now under fire in Straw v. Indiana
      Democratic Party.
   28.       I made an APRA request to get records about the ramp issue
      from Buttigieg’s administration in 2012, prior to meeting Sconiers.
      It is now 2015 and I have not yet received the records from the
      City.

   29.      The connections are not hard to see. I complained as a
      lawyer and congressional candidate about ADA and Indiana Civil
      Rights Law violations in 2011 and 2012. The Democratic boss
      threatened a lawsuit. Sconiers arrives in 2012, asking only for
      negotiations work, which I did. Then, in 2013, she sued me for
      malpractice because I did not do trial work for her. Dixon refuses
      to acknowledge my disability and filed suit in October of 2013.
      Dixon begins to get legal work from the City of South Bend. Dixon



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      gets assistance from the office that discriminated against me on
      the basis of disability at the Indiana Supreme Court.

   30.      The just outcome would be that the Supreme Court staff are
      disciplined for getting involved and once again injuring my legal
      career, and Dixon held to account in his evidence-less malpractice
      case.

   31.      With no demand for services, no demand that I even help her
      find someone to file suit, Sconiers has had no case.

   32.     And it is even more apparent what the true motivation was
      when disgraced Democratic leader Butch Morgan threatened a
      lawsuit against me for political reasons while shaking my
      brother’s hand in October of 2011. Morgan did so in front of an
      ABC 57 reporter, Jason Aubry.

   33.      When Dixon is favored with lucrative legal work by the city
      of South Bend (Democratic Council and Mayor), it shows his
      politically-motivated and disability rights-violating malpractice
      case is bearing fruit for him.

   34.      If I had filed a federal lawsuit for Sconiers under these
      circumstances, it would have been unethical first and foremost,
      since I had no instruction to do so from my client. Not having any
      instruction, I am prevented in Indiana from filing a federal
      lawsuit under Indiana Rules of Professional Conduct, Rule 1.2(a)
      (“a lawyer shall abide by a client’s decisions”), since I had limited
      my representation as allowed by Rule 1.2(c) (“A lawyer may limit
      the scope and objectives of the representation if the limitation is
      reasonable under the circumstances and the client gives informed
      consent.”).

   35.     Dixon has prosecuted a frivolous malpractice case against
      me at the state level which has stretched from 2013 to 2015.


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   36.       Further, Dixon refused to respect my reasons for not wanting
      to file any case for Sconiers in 2012, namely, my mental and
      physical disabilities. This violates my disability civil rights.

   37.      Dixon dumped poison on me every bit as much as the U.S.
      Navy did when I was born at Camp LeJeune. He has accused me
      of malpractice and it has appeared since October 2013 on
      http://mycase.in.gov, the case search website of the Indiana
      Supreme Court.

   38.       Dixon has a very healthy criminal law practice. (Exhibit YY)
      Although there is nothing wrong with this, he seems to
      misunderstand the difference between a shadow of a doubt to
      relief someone of punishment, and punishing a lawyer with a
      malpractice case with a shadow of evidence. And that evidence is
      interference from the Indiana Supreme Court.

   39.      Malpractice complaints drive clients away, and that is why
      when I ask for damages as I do, they are justified by the damage
      Dixon did. Combined with false and defamatory disciplinary
      charges refuted by my doctor even before the charge was made,
      and it is obvious that there is a conspiracy to end my legal career
      right here, right now.

   40.      All involved must be accountable.

   41.      Knowing that I have these disabilities before he filed his
      case, including physical disabilities from a car wreck, Dixon
      should have refrained from filing a malpractice case. His lack of
      factual evidence was enough to not file, and this was more reason.

   42.     In the absence of factual evidence and any reasonable legal
      theory, the malpractice case appears on its face to be harassment
      for my disabilities.



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COUNT I: INDIANA SUPREME COURT AND ITS EMPLOYEES FOR
   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

   43.       The actions of the Indiana Supreme Court by its
      Employment Law Director, Brenda Rodeheffer, and other
      employees have caused me extreme emotional damage, damage to
      my career, damage to my ability to earn money as an attorney.
      Filing a disciplinary complaint based on my disability alone was
      meant to injure. It did. Sharing that complaint’s existence with a
      lawyer who was suing me for malpractice was also meant to
      injure. It did. This is intentional infliction of emotional distress,
      which is actionable as a tort under Indiana law. Williams v.
      Tharp, 889 N.E.2d 870 (Ind. Ct. App. 2008). The tort is from
      Rodeheffer individually and in her official role, and the Court that
      authorized her actions must be responsible for them. My demand
      is for $90,000 from Rodeheffer individually and $150,000 from the
      Indiana Supreme Court for intentional infliction of emotional
      distress.

   44.      I respectfully seek this relief from this honorable court and
      additional relief as the Court deems fit.

COUNT II: INDIANA SUPREME COURT AND ITS EMPLOYEES FOR
                 CONSTITUTIONAL TORTS

   45.      The repeated refusal to accept my demands for justice are
      due process violations, and justify my claim for damages under 42
      U.S.C. § 1983. I also have a right to petition the government for
      redress of grievances under the First Amendment of the U.S.
      Constitution, and this must apply to state supreme courts which
      violate the rights of disabled citizens, myself in this case. That
      right flows through the 14th Amendment as a command to the
      states. It is incorporated.

   46.     I also claim that my constitutional rights as a person with
      disabilities were violated. I claim injury from discrimination
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      under the Equal Protection Clause. What the Indiana Supreme
      Court and its employees did is the epitome of discrimination and
      intentional harm.

   47.      My Social Security income statement shows that since my
      firing at the Indiana Supreme Court, my income evaporated.
      (Exhibit CCC) Injury was severe.

   48.     I seek $100,000 from due process damages by the Indiana
      Supreme Court and its employees’ actions. I seek $100,000 from
      the Equal Protection Clause violations by the Indiana Supreme
      Court and its employees’ actions.

   49.     I seek $100,000 for the violation of the right to petition the
      government for redress of grievances under the First Amendment.

   50.     I respectfully seek this relief from this Honorable Court and
      any other just relief deemed appropriate by the Court.

  COUNT III: ATTORNEY THOMAS M. DIXON FOR INTENTIONAL
             INFLICTION OF EMOTIONAL DISTRESS

   51.      Attorney Dixon took the emails of Brenda Rodeheffer and
      injected them into the record of a malpractice case. Not to shed
      any light on the merits of the malpractice case, because
      Rodeheffer’s disciplinary complaint was irrelevant to that.

   52.     He did so in order to show that the Indiana Supreme Court
      was behind him. This was a defamatory purpose, meant to injure
      me and win his case in an unethical fashion. Indiana Rules of
      Professional Conduct, Rule 8.4(e), prohibits attempting to use
      improper influence.

   53.      I made a complaint to the Indiana Attorney Disciplinary
      Commission about Dixon, but the Court agency was consistent
      with its previous actions and biased against me. My request was
      denied.

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   54.      Dixon entered Rodeheffer’s email announcing the
      disciplinary complaint to harm me. He did it on purpose.

   55.      Dixon and Rodeheffer colluded together so that I would be
      hit with both a malpractice suit and a disciplinary complaint at
      the same time.

   56.      Intentional infliction of emotional distress is a tort available
      in Indiana. Williams v. Tharp, 889 N.E.2d 870 (Ind. Ct. App.
      2008). Dixon committed this tort.

   57.     Dixon’s frivolous malpractice suit and exhibits from the
      Indiana Supreme Court stating disciplinary complaints were
      being filed were intentional infliction of emotional distress,
      designed to get me to agree to ask my insurance company to settle
      with him.

   58.     He communicated with the employment lawyer of my ex-
      employer, which happens also to have power over my law license.
   59.      Now, it is absolutely incontrovertible that Dixon and
      Rodeheffer worked together to injure me, and it has caused a
      great amount of pain and injury to me emotionally. I am facing
      the destruction of my legal career from two directions, both intent
      on revenge for my disability rights work—for my having a
      disability.
   60.      Dixon is not only are trying to get $120,000 from me without
      merit, but Dixon is cooperating with the Indiana Supreme Court
      to take away my only active state law license. That will make it
      impossible to continue my legal career as a disability rights
      lawyer.

   61.     I have bipolar disorder and this is a condition that affects
      the emotions, making them more sensitive.



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   62.      I will prove that Dixon caused me extreme emotional
      distress just as if a person punched the skull of a person with
      glass bones syndrome. Even if I am in remission and am “quite
      productive,” as my doctor says, I still feel emotional attacks such
      as Dixon’s at a higher level and with more pain than a normal
      person would.

            Indiana recognizes the tort of intentional infliction of
            emotional distress as extreme and outrageous conduct
            intentionally or recklessly causing severe emotional distress
            to another. Cullison v. Medley, 570 N.E.2d 27, 31 (Ind.1991).
            The basis of the tort is the intent to cause intentional
            emotional harm. Id. Conduct is considered "extreme and
            outrageous" when:

            the conduct has been so outrageous in character, and so
            extreme in degree, as to go on beyond all possible bounds of
            decency, and to be regarded as atrocious, and utterly
            intolerable in a civilized community. Generally, the case is
            one in which the recitation of the facts to an average
            member of the community would arouse his resentment
            against the actor, and lead him to exclaim, Outrageous!

            Powdertech, Inc. v. Joganic, 776 N.E.2d 1251, 1264
            (Ind.Ct.App .2002)(cited in Roell v. American Senior
            Communities, 20A03-1111-CT-524 (Ind. Ct. App. 2012)).
   63.     In the civilized community of lawyers, to attack a disabled
      man’s profession as a lawyer by filing a malicious and fact-less
      malpractice case and by entering notice of a disciplinary complaint
      based only on his disability into evidence in that case is
      “outrageous in character.”

   64.     Dixon knew I had disabilities because I told him. He knew
      Sconiers never asked me to help her find anyone to help with her

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      case. Dixon knew that Sconiers never asked me to file any lawsuit
      for her. He knew that his malpractice case was devoid of merit.

   65.    On top of this, knowing that I have disabilities, he filed
      Rodeheffer’s email announcing that she was filing a disciplinary
      complaint against me. That complaint was on the basis of my
      mental disability status.

   66.      Dixon was punching me in the way only an attorney can do.
      Frivolous filings and false attacks on my law license hurt me
      terribly; it was dirty pool, motivated by the Indiana Democratic
      Party and the Indiana Supreme Court, two organizations against
      which I have had grievances for years. Intentional infliction of
      emotional distress is a tort available to address such attacks.

   67.     Dixon must compensate me for the intentional, deliberate,
      and intense pain he has caused me. I seek $300,000 for
      intentional infliction of emotional distress.

   68.      I respectfully seek this relief from this Honorable Court. I
      also ask for other relief as the Court deems just under the
      circumstances.

                             EEOC CHARGE

   69.      As previously mentioned, I have filed a complaint with the
      EEOC for the Indiana Supreme Court’s actions as an ex-employer.
      These charges are based on violations of the Civil Rights Act of
      1964, Title VII, and the Americans with Disabilities Act. The
      EEOC charge number is 470-2015-00699. When the EEOC is
      done investigating, I may ask the court to merge that case with
      this one, with the Court’s permission.




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                  REQUEST FOR RELIEF: SUMMARY

   70.       Due to the facts recited above and the laws cited in support
      of relief in each of the above 3 counts, I respectfully request the
      following relief from this Honorable Court:

   71.    Count I: Indiana Supreme Court Intentional Infliction of
      Emotional Distress, $150,000. Rodeheffer Intentional Infliction of
      Emotional Distress, $90,000.

   72.     Count II: Indiana Supreme Court Constitutional Torts 42
      U.S.C. § 1983: $300,000

   73.     Count III: Dixon, Intentional Infliction of Emotional
      Distress: $300,000

   74.     For the reasons given, factual and legal, I respectfully
      request that this Honorable Court provide the relief described
      above.

                                  VENUE

   75.      The venue of this case is currently the Northern District of
      Indiana, South Bend Division. Venue lies in this District and this
      Division pursuant to 28 U.S.C. § 1391 because events giving rise
      to this action occurred in St. Joseph County, Indiana.

                             JURY DEMAND

   76.      I demand the right of trial by jury for this civil case under
      the 7th Amendment of the U.S. Constitution.

                             JURISDICTION

   77.       Jurisdiction over the claims between myself and Thomas M.
      Dixon and are based on diversity jurisdiction, 28 U.S.C.
      §1332(a)(1), as the amount in controversy is greater than $75,000.
      I live in Cook County, Illinois, and Dixon’s office is within the

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      Northern District of Indiana, in Osceola, Indiana. Jurisdiction
      over the claim against Rodeheffer is in her personal capacity is
      also based on diversity jurisdiction, 28 U.S.C. §1332(a)(1) or
      federal law. These defendants live in Indiana, either the Northern
      or Southern District. The claims based on violations of the 42
      U.S.C. § 1983, or 42 U.S.C. § 1985(3) are federal law-based claims
      and do not require diversity. Bell v. Hood, 327 U.S. 678, 684
      (1946) also provides that constitutional violations give rise to
      federal jurisdiction.

   I, Plaintiff Andrew U. D. Straw, verify that to the best of my
   knowledge, information, and belief, formed after an inquiry
   reasonable under the circumstances, that the above statements and
   factual representations are true.

                                          Respectfully submitted,




                                          ANDREW U. D. STRAW
                                          1900 E. Golf Rd., Suite 950A
                                          Schaumburg, IL 60173
                                          Telephone: (312) 985-7333
                                          Fax: (877) 310-9097
                                          andrew@andrewstraw.com

                                          January 30, 2015




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                      CERTIFICATE OF SERVICE

I, Andrew U. D. Straw, certify that I filed the above AMENDED
COMPLAINT with the Court via its electronic CM/ECF system on
January 30, 2015, and that the electronic CM/ECF system will serve
the AMENDED COMPLAINT on all counsel of record and pro se
parties.

When initiated, the St. Joseph County Superior Court was a defendant
for purposes of the injunctive relief, and is represented by the Indiana
Attorney General. Several Attorney General attorneys are receiving
notice in the CM/ECF system.

The new party added to this case is Brenda Rodeheffer. The Indiana
Supreme Court is also added as a defendant, as State of Indiana. All of
these parties are employees of the State of Indiana or are the State of
Indiana, and therefore currently represented in the case by the Indiana
Attorney General.

                                          Respectfully submitted,




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                                          January 30, 2015




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